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BY
UNITEo sTATEs or AMERICA, )
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Pieimer, ) MAG. 06-0242-DAD
) MAe.oe-oz~j/eee \/
v. )
)
) DEIEETIQN onnER
JESUS MIRANDA ZAZUEYA, )
)
Defcndant. )
)

 

A. QEer For Detention
After conducting a detention bearing pursuant to 18 U.S.C. § 3142(0 of the Bail Reforrn Act, the Court

orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (I)

B. Statement Of` R;§`§Qns For The Detentigg
gte Couit orders the defendant’s detention because it finds:

By a preponderance of the evidence that no condition or combination of conditions will
“7"` reasonably assure the appearance of the defendant as required

By clear and convincing evidence that no condition or combination of conditions

will reasonably assure the safety of any other person and the community

C. Fi[}dings l`_`)f Fact
The Ccnrt’s findings are based on the evidence which was presented in Court and that which was
contained in the Pretrial Services Report, and includes the following:

 

(1) Nature and Circumsta ces of rise c arged:
C;E\ (a) The crime.
E| (b) The offense is a e of vi nce./

D (c) The offense involves a narcotic drug.

d C;d\;ie) The offense involves a large amount of controlled substances

@ai\g) The ight ernie evideeee against the defendth te sign
|Il -) The history and characteristics of the defendant including
(a_) General Factors:
E| The defendant appears to have a mental condition which may

affect whether the defendant will appear.
The defendant has no known family ties in the area_
The defendant has no known steady employmentl
The defendant has no known substantial financial resources
The defendant is not a long time resident of the community
The defendant does not have any known significant community ties.
Past conduct of the defendant

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The defendant has a history relating to drug abuse.
The defendant has a significant prior criminal record.
The defendant has a prior record of failure to appear at court proceedings

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[l Court/Original l;l U.S_ Attorney E| Defense Counsel D Prl:trinl Scrviccs

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Whether the defendant was on probation, parole, or release by a court;
At the time of the current arrest, the defendant was on:
l:l Probation
|:l Parole _ _
ij Release pending trial, sentence, appeal or completion of sentencel

(b) Other Faetors:
The defendant is an illegal alien and is subject to deportationl
|:| The defendant is a legal alien and will be subject to deportation if
convicted. '

|:| Other:

 

 

 

 

M) Rebuttable Prgsumptions

ln determining that the defendant should be detained, the court also relied on the following rebuttable
presumption(s) contained in 18 U.S.C. § 3142(e), which the court Ends the defendant has not
rebutted:
|:| a. (l) The crime charged is one described in § 3142(f)(1) L`z.
[:l -(A) a crime ofviolcnce; or
l;l (B) art offense for which the maximum penalty is life imprisonment or death; or
[Il (C) a controlled substance violation that has a maximum penalty of ten years or
morc', or
|I| (D) a felony and defendant previously was convicted of two or more of the offenses
described in (A] through (C) above Ll
(2) Defendant previously has been convicted of one of the crimes listed in subparagraph
(1)(A)-(C), above an_d
(3) The offense referred to in subparagraph (2) was committed while defendant was on
release pending trial B
(4) Not more than five years has elapsed since_the date of conviction or release from
imprisonment for the offense referred to in subparagraph (2).
b. There is probable cause to believe that"defendant committed an offense for which a
ximum term of imprisonment often years or more is prescribed
ag~kithe Controlled Substances Act, 21 U.S.C. §§ 801, et seq.,
the Controlled Substances Import and E.xport Act, 21 U.S.C. §§ 951, et Seq.,
the Maritime Drug Law Enforcement Act, 46 U.S.C. App. §§ 1901, et seq., or
an offense under 18 U.S.C. §§ 924(¢), 956(a), Or 2332b.
an offense under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(i), 2245, 2251, 2251A,
2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3),
2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.
Additional Dir§gj;jvgs
Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:

The-defendant be committed to the custody of the Attorney General for confinement in a corrections
facility separate, to the extent practicable_, from persons awaiting or serving sentences or being held in
custody pending appeal; and

The defendant be afforded reasonable opportunity for private consultation with his counsel; and

That, on order of a court of the United States, or on request of an attorney for the Govemmcnt, the
person in charge of the corrections facility in which the defendant is confined deliver the defendant to a

United States Marshal for the purpose of an appearance in connection with court proceeding _
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UNITED STATE.S MAGISTRATE JUDGE

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